 8:05-cr-00267-LSC-TDT         Doc # 74     Filed: 11/30/05     Page 1 of 1 - Page ID # 263




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )           CASE NO. 8:05CR267
                                                )
       vs.                                      )
                                                )                     ORDER
JULIO C. SOTO,                                  )
                                                )
                      Defendant.                )



       This matter is before the Court on the Unopposed Motion for Continuance of

Sentencing Schedule filed by the Defendant, Julio C. Soto (Filing No. 71).

       IT IS ORDERED:

       After careful consideration and given the Court’s calendar the Unopposed Motion

for Continuance of Sentencing Schedule filed by the Defendant, Julio C. Soto (Filing No.

71) is denied. The Court will discuss the possibility of self-surrender at a later date if the

Defendant is in complete compliance with his conditions of release at the time of

sentencing.

       Dated this 30th day of November, 2005.

                                                    BY THE COURT:

                                                    s/Laurie Smith Camp
                                                    United States District Judge
